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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MARYLAND
__________________________________________
                                           )
In Re:                                     ) Case No. 23-16969-MMH
                                          )
ROMAN CATHOLIC ARCHBISHOP                 ) Chapter 11
OF BALTIMORE,                             )
                                          )
                  Debtor.                 )
__________________________________________)

        OBJECTION OF BALTIMORE GAS AND ELECTRIC COMPANY
     TO THE DEBTOR’S EMERGENCY MOTION FOR ENTRY OF INTERIM
    AND FINAL ORDERS (I) AUTHORIZING DEBTOR’S PROPOSED FORM OF
   ADEQUATE ASSURANCE OF PAYMENT TO UTILITY COMPANIES UNDER
 SECTION 366 OF THE BANKRUPTCY CODE, (II) ESTABLISHING PROCEDURES
  FOR RESOLVING OBJECTIONS BY UTILITY COMPANIES, (III) PROHIBITING
   UTILITY COMPANIES FROM ALTERING, REFUSING, OR DISCONTINUING
             SERVICE, AND (IV) GRANTING RELATED RELIEF

       Baltimore Gas and Electric Company (“BGE”), by counsel, hereby objects to the

Debtor’s Emergency Motion For Entry of Interim and Final Orders (I) Authorizing Debtor’s

Proposed Form of Adequate Assurance of Payment To Utility Companies Under Section 366 of

the Bankruptcy Code, (II) Establishing Procedures For Resolving Objections By Utility

Companies, (III) Prohibiting Utility Companies From Altering, Refusing, or Discontinuing

Service, and (IV) Granting Related Relief (the “Utility Motion”)(Docket No. 8), and sets forth the

following:

                                          Introduction

       The Debtor’s Utility Motion improperly seeks to shift the Debtor’s obligations under

Section 366(c)(3) from modifying the amount of the adequate assurance of payment requested by

BGE under Section 366(c)(2) to setting the form and amount of the adequate assurance of

payment acceptable to the Debtor. This Court should not permit the Debtor to shift its statutory

burden.
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       The Debtor seeks to have this Court approve the Debtor’s form of adequate assurance of

payment, which is a bank account containing $13,500 that supposedly equals two-weeks of the

Debtor’s utility charges, calculated as a historical average for the 2023 fiscal year (the “Bank

Account”). The Court should reject the Debtor’s proposed Bank Account because: (1) BGE

bills the Debtor on a monthly basis and provides the Debtor with generous payment terms

pursuant to applicable state-law tariffs, rules or regulations, and a two-week account is not

sufficient in amount or in form to provide BGE with adequate assurance of payment even if that

account contained two-weeks of charges on behalf of BGE; (2) Section 366(c) of the Bankruptcy

Code specifically defines the forms of adequate assurance of payment in Section 366(c)(1), none

of which include a segregated bank account; and (3) even if this Court were to improperly

consider the Bank Account as a form of adequate assurance of payment for BGE, the Court

should reject it as an insufficient form of adequate assurance of payment for the reasons set forth

in Section A.1. of this Objection.

       BGE is seeking a two-month cash deposit in the amount of $9,300 from the Debtor,

which is an amount that BGE is authorized to obtain pursuant to applicable state law. Based on

all the foregoing, this Court should deny the Utility Motion as to BGE because the amount of

BGE’s post-petition deposit request is reasonable under the circumstances and should not be

modified.

                                               Facts

                                        Procedural Facts

       1.      On September 29, 2023 (the “Petition Date”), the Debtor commenced its case

under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) that is now




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pending with this Court. The Debtor continues to operate its business and manage its properties

as a debtor in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

                                        The Utility Motion

       2.      On the Petition Date, the Debtor filed the Utility Motion.

       3.      On October 4, 2023, the Court entered the Interim Order (I) Authorizing Debtor’s

Proposed Form of Adequate Assurance of Payment To Utility Companies Under Section 366 of

the Bankruptcy Code, (II) Establishing Procedures For Resolving Objections By Utility

Companies, (III) Prohibiting Utility Companies From Altering, Refusing, or Discontinuing

Service, and (IV) Granting Related Relief (the “Interim Utility Order”)(Docket 46). The Interim

Utility Order set the final hearing on the Utility Motion to take place on November 6, 2023 at

10:00 a.m.

       4.      On October 4, 2023, the Debtor filed the Notice of Final Hearing on Debtor’s

First-Day Motions and Objection Deadline (Docket No. 53) which set a deadline of October 25,

2023 to file objections to first-day motions, including the Utility Motion.

       5.      The Debtor seeks to avoid the applicable legal standards under Sections 366(c)(2)

and (3) by seeking Court approval for its own form of adequate assurance of payment, which is

the Bank Account containing $13,500 that supposedly equals two-weeks of utility charges,

calculated as a historical average for the 2023 fiscal year. Utility Motion at ¶¶ 10, 13.

       6.      The Debtor refers to the monies contained in the proposed Bank Account on

behalf of each of the Debtor’s utility providers as an “Adequate Assurance Deposit.” Utility

Motion at ¶ 13. Monies contained in an escrow account controlled by a customer of a utility

such as the proposed Bank Account are not recognized as a “cash deposit” provided by a

customer to a utility by any public utility commission. Additionally, Section 366(c) of the

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Bankruptcy Code specifically defines the forms of adequate assurance of payment in Section

366(c)(1), none of which include a segregated utility bank account. Simply put, the Debtor is not

proposing to provide BGE with a cash deposit as adequate assurance of payment pursuant to

Section 366(c) of the Bankruptcy Code.

       7.      Even if the Bank Account contained approximately two weeks of utility charges

on behalf of BGE, the Bank Account would not be acceptable to BGE and should not be

considered relevant by this Court because Sections 366(c)(2) and (3) do not allow the Debtor to

establish the form or amount of adequate assurance of payment. Under Sections 366(c)(2) and

(3), this Court and the Debtor are limited to modifying, if at all, the amount of the security

sought by BGE under Section 366(c)(2).

       8.      The Utility Motion does not address why this Court should consider modifying, if

at all, the amount of BGE’s adequate assurance request pursuant to Section 366(c)(2). Rather,

without providing any specifics, the Utility Motion merely states that the Bank Account and “in

conjunction with the Debtor’s ability to pay for future Utility Services in the ordinary course of

business (collectively, the “Proposed Adequate Assurance”) and any deposits held by the Utility

Companies,” constitutes sufficient adequate assurance of future payment to the Debtor’s utility

companies. Utility Motion at ¶ 14. Any consideration of prepetition deposits held by the

Debtor’s utility providers prior to the recoupment of prepetition deposits against prepetition debt

pursuant to Section 366(c)(4) of the Bankruptcy Code does not make sense because the Debtor

does not know if any prepetition deposit amounts will remain after recoupment.

                                      Facts Regarding BGE

       9.      BGE provided the Debtor with prepetition utility goods/services and has

continued to do so for the Debtor post-petition.

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       10.     Under BGE’s billing cycle, the Debtor receives approximately one month of

utility service before BGE issues a bill for such service. If the Debtor fails to pay the bill within

approximately 20 days after the bill is issued, a past due notice is issued and a late fee is

subsequently imposed on the account. If the Debtor fails to pay the bill after the issuance of the

past due notice, BGE issues a notice that informs the Debtor that it must cure the arrearage

within a certain period of time or its service will be disconnected. Accordingly, under BGE’s

billing cycle, the Debtor could receive at least two-months of unpaid service before its service

could be terminated for a post-petition payment default.

       11.     In order to avoid the need to bring witnesses and have lengthy testimony

regarding BGE’s regulated billing cycle, BGE requests that this Court, pursuant to Rule 201 of

the Federal Rules of Evidence, take judicial notice of the BGE billing cycle. Pursuant to the

foregoing request and based on the voluminous size of the applicable documents, the BGE web

site links to the tariffs and/or state laws, regulations and/or ordinances can be obtained at:

BGE:
       Electric –
       https://www.bge.com/MyAccount/MyBillUsage/Pages/ElectricServiceRatesTariffs.aspx
       Gas –
       https://www.bge.com/MyAccount/MyBillUsage/Pages/GasServiceRatesTariffs.aspx

       12.     Subject to a reservation of BGE’s right to supplement its post-petition deposit

request if additional accounts belonging to the Debtor are subsequently identified, BGE’s post-

petition deposit request is as follows:

No. of Accts           Estimated Prepetition Debt              Deposit Request

       7               $5,296                                  $9,300 (2-month)

       13.     BGE held a prepetition deposit in the amount of $6,798 that it recouped against

the prepetition debt owing to BGE from the Debtor pursuant to Section 366(c)(4) of the

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Bankruptcy Code. Any deposit amount remaining after recoupment can be applied to BGE’s

post-petition deposit request.

                                                 Discussion

       A.        THE UTILITY MOTION SHOULD BE DENIED AS TO BGE.

       Sections 366(c)(2) and (3) of the Bankruptcy Code provide:

             (2) Subject to paragraphs (3) and (4), with respect to a case filed under chapter 11, a
              utility referred to in subsection (a) may alter, refuse, or discontinue utility service, if
              during the 30-day period beginning on the date of the filing of the petition, the utility
              does not receive from the debtor or the trustee adequate assurance of payment for
              utility service that is satisfactory to the utility;

             (3)(A) On request of a party in interest and after notice and a hearing, the court may
              order modification of the amount of an assurance of payment under paragraph (2).

       As set forth by the United States Supreme Court, “[i]t is well-established that ‘when the

statute's language is plain, the sole function of the courts--at least where the disposition required

by the text is not absurd--is to enforce it according to its terms.’” Lamie v. United States Trustee,

540 U.S. 526, 534, 124 S. Ct. 1023, 157 L. Ed. 2d 1024 (2004) (quoting Hartford Underwriters

Ins. Co. v. Union Planters Bank, N. A., 530 U.S. 1, 6, 120 S. Ct., 1942, 147 L. Ed. 2d 1 (2000)).

Rogers v. Laurain (In re Laurain), 113 F.3d 595, 597 (6th Cir. 1997) (“Statutes . . . must be read

in a ‘straightforward’ and ‘commonsense’ manner.”). A plain reading of Section 366(c)(2)

makes clear that a debtor is required to provide adequate assurance of payment satisfactory to its

utilities on or within thirty (30) days of the filing of the petition. If a debtor believes the amount

of the utility’s request needs to be modified, then the debtor can file a motion under Section

366(c)(3) requesting the court to modify the amount of the utility’s request under Section

366(c)(2).

       In this case, the Debtor filed the Utility Motion to improperly shift the focus of its

obligations under Section 366(c)(3) from modifying the amount of the adequate assurance of
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payment requested under Section 366(c)(2) to setting the form and amount of the adequate

assurance of payment acceptable to the Debtor. Accordingly, this Court should not reward the

Debtor for its failure to comply with the requirements of Section 366(c) and deny the Utility

Motion as to BGE.

               1.       The Debtor’s Proposed Bank Account Is Not Relevant And Even If It
                        Is Considered, It Is Unsatisfactory Because It Does Not Provide BGE
                        With Adequate Assurance of Payment.

       This Court should not even consider the Bank Account as a form of adequate assurance

of payment because: (1) It is not relevant because Section 366(c)(3) provides that a debtor can

only modify “the amount of an assurance of payment under paragraph (2)”; and (2) The Bank

Account is not a form of adequate assurance of payment recognized by Section 366(c)(1)(A).

Moreover, even if the Court were to consider the Bank Account, the Bank Account is an

improper and otherwise unreliable form of adequate assurance of future payment for the

following reasons:

           1. Unlike the statutory approved forms of adequate assurance of payment, the Bank
              Account is not something held by BGE. Accordingly, BGE would have no
              control over how long the Bank Account will remain in place.

           2. In order to access the Bank Account, BGE would have to incur the expense to
              draft and serve a disbursement request possibly litigate the demand if the Debtor
              refuses to honor a disbursement request.

           3. It is underfunded from the outset because BGE issues monthly bills and by the
              time a default notice is issued the Debtor will have received approximately 60
              days of commodity or service. Accordingly even if BGE attempted to access
              Bank Account, it will be only cover one half of the past due charges and none of
              the additional charges for utility service/goods provided after the past due charges
              were incurred.

           4. The Debtor may close the Bank Account before all post-petition utility charges
              are paid in full.

           5. The Debtor fail to state whether draws from the Bank Account would be limited
              to two-week amounts.
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            Accordingly, the Court should not approve the Bank Account as adequate assurance

  for BGE because the Bank Account is: (a) not the form of adequate assurance requested by

  BGE; (b) not a form recognized by Section 366(c)(1)(A); and (c) an otherwise unreliable form

  of adequate assurance.

                 2.       The Utility Motion Should Be Denied As To BGE Because the Debtor
                          Has Not Set Forth Any Basis For Modifying BGE’s Requested
                          Deposit.

            In the Utility Motion, the Debtor fail to address why this Court should modify the

  amount of BGE’s request for adequate assurance of payment. Under Section 366(c)(3), the

  Debtor has the burden of proof as to whether the amount of BGE’s adequate assurance of

  payment request should be modified. See In re Stagecoach Enterprises, Inc., 1 B.R. 732, 734

  (Bankr. M.D. Fla. 1979) (holding that the debtor, as the petitioning party at a Section 366

  hearing, bears the burden of proof). However, the Debtor does not provide the Court with any

  evidence or factually supported documentation to explain why the amount of the BGE

  adequate assurance request should be modified. Accordingly, the Court should deny the relief

  requested by Debtor in the Utility Motion and require the Debtor to comply with the

  requirements of Section 366(c) with respect to BGE.

       B.        THE COURT SHOULD ORDER THE DEBTOR TO PROVIDE THE
                 ADEQUATE ASSURANCE OF PAYMENT REQUESTED BY BGE
                 PURSUANT TO SECTION 366 OF THE BANKRUPTCY CODE.

       Section 366(c) was amended to overturn decisions such as Virginia Electric and Power

Company v. Caldor, Inc., 117 F.3d 646 (2d Cir. 1997), that held that an administrative expense,

without more, could constitute adequate assurance of payment in certain cases. Section

366(c)(1)(A) specifically defines the forms that assurance of payment may take as follows:

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               (i) a cash deposit;
               (ii) a letter of credit;
               (iii) a certificate of deposit;
               (iv) a surety bond;
               (v) a prepayment of utility consumption; or
               (vi) another form of security that is mutually agreed upon between the utility and
               the debtor or the trustee.

       Section 366 of the Bankruptcy Code was enacted to balance a debtor’s need for utility

services from a provider that holds a monopoly on such services, with the need of the utility to

ensure for itself and its rate payers that it receives payment for providing these essential services.

See In re Hanratty, 907 F.2d 1418, 1424 (3d Cir. 1990). The deposit or other security “should

bear a reasonable relationship to expected or anticipated utility consumption by a debtor.” In re

Coastal Dry Dock & Repair Corp., 62 B.R. 879, 883 (Bankr. E.D.N.Y. 1986). In making such a

determination, it is appropriate for the Court to consider “the length of time necessary for the

utility to effect termination once one billing cycle is missed.” In re Begley, 760 F.2d 46, 49 (3d

Cir. 1985).

       BGE bills the Debtor on a monthly basis for the charges already incurred by the Debtor in

the prior month. BGE then provides the Debtor with 20 days to pay the bill before a late charge

may be assessed, the timing of which is set forth in applicable state laws, tariffs, and/or

regulations. Based on the foregoing state-mandated billing cycle, the minimum period of time

the Debtor could receive service from BGE before termination of service for non-payment of

post-petition bills is approximately two (2) months. Moreover, even if the Debtor timely pays its

post-petition utility bills, BGE still has potential exposure of approximately 60 days or more

based on its billing cycle. Furthermore, the amount of BGE’s deposit request is the amount that

the applicable public service commission, which is a neutral third-party entity, permits BGE to

request from its customers. BGE is not taking the position that the deposit that it is entitled to

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obtain under applicable state law is binding on this Court, but, instead is introducing that amount

as evidence of the amount that the applicable regulatory entity permits BGE to request from its

customers.

        Despite the fact that BGE continues to provide the Debtor with crucial post-petition

utility goods/services on the same generous terms that were provided prepetition, with the

possibility of non-payment, the Debtor is seeking to deprive BGE of any adequate assurance of

payment for which it is entitled to for continuing to provide the Debtor with post-petition utility

goods/services. Against this factual background, it is reasonable for BGE to seek and be awarded

the full security it has requested herein.

           WHEREFORE, BGE respectfully requests that this Court enter an order:

      1.         Denying the Utility Motion as to BGE;

      2.         Awarding BGE post-petition adequate assurance of payment pursuant to Section

                 366 in the amount and form satisfactory to BGE, which is the form and amount

                 requested herein; and

      3.         Providing such other and further relief as the Court deems just and appropriate.

Dated: October 13, 2023                  Respectfully submitted,

                                         /s/ Megan E. Harmon
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                                         and




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 13, 2023, a true and correct copy of the foregoing
Objection was served via the Court’s Electronic Case Filing System on these entities and
individuals who are listed on the Court’s Electronic Mail Notice List, and also via email:

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